Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 1 of 82 Page ID
                                   #:24
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 2 of 82 Page ID
                                   #:25
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 3 of 82 Page ID
                                   #:26
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 4 of 82 Page ID
                                   #:27
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 5 of 82 Page ID
                                   #:28
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 6 of 82 Page ID
                                   #:29
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 7 of 82 Page ID
                                   #:30
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 8 of 82 Page ID
                                   #:31
Case 2:13-cv-05306-DSF-AJW   Document 1   Filed 07/23/13   Page 9 of 82 Page ID
                                   #:32
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 10 of 82 Page ID
                                    #:33
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 11 of 82 Page ID
                                    #:34
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 12 of 82 Page ID
                                    #:35
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 13 of 82 Page ID
                                    #:36
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 14 of 82 Page ID
                                    #:37
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 15 of 82 Page ID
                                    #:38
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 16 of 82 Page ID
                                    #:39
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 17 of 82 Page ID
                                    #:40
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 18 of 82 Page ID
                                    #:41
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 19 of 82 Page ID
                                    #:42
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 20 of 82 Page ID
                                    #:43
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 21 of 82 Page ID
                                    #:44
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 22 of 82 Page ID
                                    #:45
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 23 of 82 Page ID
                                    #:46
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 24 of 82 Page ID
                                    #:47
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 25 of 82 Page ID
                                    #:48
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 26 of 82 Page ID
                                    #:49
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 27 of 82 Page ID
                                    #:50
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 28 of 82 Page ID
                                    #:51
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 29 of 82 Page ID
                                    #:52
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 30 of 82 Page ID
                                    #:53
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 31 of 82 Page ID
                                    #:54
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 32 of 82 Page ID
                                    #:55
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 33 of 82 Page ID
                                    #:56
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 34 of 82 Page ID
                                    #:57
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 35 of 82 Page ID
                                    #:58
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 36 of 82 Page ID
                                    #:59
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 37 of 82 Page ID
                                    #:60
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 38 of 82 Page ID
                                    #:61
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 39 of 82 Page ID
                                    #:62
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 40 of 82 Page ID
                                    #:63
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 41 of 82 Page ID
                                    #:64
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 42 of 82 Page ID
                                    #:65
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 43 of 82 Page ID
                                    #:66
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 44 of 82 Page ID
                                    #:67
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 45 of 82 Page ID
                                    #:68
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 46 of 82 Page ID
                                    #:69
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 47 of 82 Page ID
                                    #:70
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 48 of 82 Page ID
                                    #:71
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 49 of 82 Page ID
                                    #:72
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 50 of 82 Page ID
                                    #:73
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 51 of 82 Page ID
                                    #:74
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 52 of 82 Page ID
                                    #:75
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 53 of 82 Page ID
                                    #:76
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 54 of 82 Page ID
                                    #:77
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 55 of 82 Page ID
                                    #:78
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 56 of 82 Page ID
                                    #:79
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 57 of 82 Page ID
                                    #:80
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 58 of 82 Page ID
                                    #:81
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 59 of 82 Page ID
                                    #:82
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 60 of 82 Page ID
                                    #:83
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 61 of 82 Page ID
                                    #:84
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 62 of 82 Page ID
                                    #:85
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 63 of 82 Page ID
                                    #:86
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 64 of 82 Page ID
                                    #:87
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 65 of 82 Page ID
                                    #:88
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 66 of 82 Page ID
                                    #:89
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 67 of 82 Page ID
                                    #:90
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 68 of 82 Page ID
                                    #:91
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 69 of 82 Page ID
                                    #:92
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 70 of 82 Page ID
                                    #:93
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 71 of 82 Page ID
                                    #:94
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 72 of 82 Page ID
                                    #:95
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 73 of 82 Page ID
                                    #:96
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 74 of 82 Page ID
                                    #:97
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 75 of 82 Page ID
                                    #:98
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 76 of 82 Page ID
                                    #:99
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 77 of 82 Page ID
                                   #:100
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 78 of 82 Page ID
                                   #:101
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 79 of 82 Page ID
                                   #:102
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 80 of 82 Page ID
                                   #:103
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 81 of 82 Page ID
                                   #:104
Case 2:13-cv-05306-DSF-AJW   Document 1 Filed 07/23/13   Page 82 of 82 Page ID
                                   #:105
